                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

LUIS ANGEL ALVAREZ ROMAN,                             :
                                                      :      CIVIL ACTION NO. 1:23-cv-02348
                              Plaintiff,              :
                                                      :      JUDGE PATRICIA A. GAUGHAN
       v.                                             :
                                                      :
CITY OF LORAIN, OHIO, ET AL.,                         :
                                                      :
                              Defendants.             :


                               STIPULATION OF DISMISSAL

       Plaintiff Luis Angel Alvarez Roman and the City of Lorain Defendants (including its

individual defendants, James P. McCann, Marcus Rivera, and Christopher Colon), by and through

undersigned counsel and pursuant to Fed. R. Civ. P. 41(a)(1)(ii), hereby stipulate that this Action

be dismissed with prejudice. Each party bears their own costs.

                                       Respectfully Submitted,

 By:/s/ Joseph T. LaVeck                            /s/ Madeline J. Rettig
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                                                   Counsel for Plaintiff




                               CERTIFICATE OF SERVICE

       This is to certify that a copy of the foregoing was filed with this Court using the CM/ECF
system on January 31, 2025, which will automatically notify all counsel of record.

                                                     By: /s/ Madeline J. Rettig
                                                     Madeline J. Rettig (0098816)




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